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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                            Chapter 11
    In re:
                                                            Case No. 23-10831 (MFW)
    Lordstown Motors Corp., et al., 1

                             Debtors.



                              CERTIFICATION OF ROBERT J. STARK

             I, Robert J. Stark, pursuant to 28 U.S.C. § 1746, to the best of my knowledge and belief,

and after reasonable inquiry, hereby certify that:

             1.     I am a partner of Brown Rudnick LLP (“Brown Rudnick”). Brown Rudnick was

retained by the Official Committee of Equity Security Holders of Lordstown Motors Corp., et al.

(the “Debtors”). I am an attorney-at-law, duly admitted and in good standing to practice in the

States of New York and New Jersey and am admitted pro hac vice in this Court. This certification

is made in support of the Fifth Monthly Fee Application of Brown Rudnick LLP, as Counsel for

the Official Committee of Equity Security Holders of Lordstown Motors Corp., et al., for

Allowance of Compensation and Reimbursement of Disbursements Incurred for the Period

January 1, 2024, Through January 31, 2024 (the “Application”). 2

             2.     I have read the foregoing Application. To the best of my knowledge, information

and belief, the statements contained in the Application are true and correct.




1
      The debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors Service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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      Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the
      Application.
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      In addition, I believe that the Application complies with Local Bankruptcy Rules 2016-1

and 2016-2.

      Executed on February 27, 2024 in New York, New York.


                                          By: /s/ Robert J. Stark
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                                          Counsel to the Official Committee of Security
                                          Equity Holders of Lordstown Motors Corp., et al.




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